Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 1 of 7 Page ID #:10607



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     5 Attorney for Defendant/Cross-Complainant,
       Labrador Entertainment, Inc. dba Spider Cues Music Library,
     6 Labrador Entertainment, LLC, Noel Palmer Webb,
       an individual and Webb Family Trusts
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     8
     9                           UNITED STATES DISTRICT COURT
    10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    11
    12    BEATBOX MUSIC, PTY, LTD.,               )    Case No. 2:17-cv-6108-MWF (JPRx)
                                                  )    Assigned to the Hon. Michael W.
    13                        Plaintiff,          )    Fitzgerald
                       vs.                        )
    14                                            )    WITNESS LIST OF LABRADOR
          LABRADOR ENTERTAINMENT,                 )    DBA SPIDER CUES MUSIC
    15    INC., DBA SPIDER CUES MUSIC             )    LIBRARY, LABRADOR
          LIBRARY, a California corporation,      )    ENTERTAINMENT, LLC, NOEL
    16                                            )    PALMER WEBB, AN
                         Defendants.              )    INDIVIDUAL AND WEBB
    17    _______________________________         )    FAMILY TRUSTS
                                                  )
    18    AND ALL RELATED ACTIONS                 )    Judge: Hon. Michael W. Fitzgerald
                                                  )
    19                                                 Hearing Date: November 21, 2022
                                                       Time: 11:00 a.m.
    20                                                 Location: Courtroom 5A - Los
                                                       Angeles
    21
    22         Defendant/Cross-Complainant, Labrador Entertainment, Inc. dba Spider Cues
    23   Music Library, Labrador Entertainment, LLC, Noel Palmer Webb, an individual and
    24   Webb Family Trusts “Labrador” “Defendants” submit the following list of witnesses for
    25   trial in the above-captioned matter.
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    28   WITNESS LIST OF LABRADOR                                                 Page 1 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 2 of 7 Page ID #:10608



     1         Labrador reserves the right to supplement and amend the proposed witness list and
     2   to submit additional proposed witnesses based on Defendants’ proposed witnesses, any
     3   stipulations, Court’s rulings before or at trial, or otherwise, as appropriate.
     4         1. Noel Webb individually and as principal of Defendants Labrador
     5   Entertainment, Inc., Labrador Entertainment, LLC, and Webb Family Trust
     6   (collectively, “Labrador Defendants”) is believed to have knowledge regarding his
     7   communications with Plaintiff, third parties, his understanding of such
     8   communications, and his claimed damages.
     9         Witness is believed to have knowledge regarding his and Plaintiff’s customs
    10   and practices, along with his and Plaintiff activities in connection with the
    11   Beatbox/Labrador Agreement; the facts alleged in Defendant’s Complaint,
    12   Defendants’ internal communications relating to Plaintiff and/or the allegations
    13   contained in the Complaint; Defendants’ Answer; Affirmative Defenses and responses
    14   to discovery, his and/or co-defendants’ communications with Plaintiff and third
    15   parties regarding Plaintiff and/or the allegations contained in the Complaint and Cross
    16   Complaint. The witness is also expected to have information relating to his
    17   relationship with Plaintiff and Plaintiff’s activities in relation to Defendants. Witness
    18   is believed to have in its possession financial documents and contracts relating to
    19   Defendants and the allegations in Defendants’s Cross-Complaint.
    20   Estimated Time for Direct and Cross Examination: 5 hours.
    21         2. Peter Baker individually and as principal of Beatbox Music Pty. Ltd. Mr.
    22   Baker is expected to testify as to interactions with Noel Webb between 2009 and
    23   2014, including but not limited to correspondence and discussions regarding replacing
    24   and reformatting the Spider Cues Library, as well as the relationship and exchanges
    25   between Beatbox and AMCOS New Zealand Limited, and the New Zealand litigation.
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    28   WITNESS LIST OF LABRADOR                                                          Page 2 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 3 of 7 Page ID #:10609



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     2         Witness is believed to have knowledge regarding his and Defendant’ customs
     3   and practices, along with his activities in connection with Defendants; the facts
     4   alleged in Defendant’s Cross Complaint, Plaintiff’s internal communications relating
     5   to Defendants and/or the allegations contained in the Cross Complaint; Plaintiff’s
     6   Answer; Affirmative Defenses and responses to discovery, his communications with
     7   Defendant and third parties regarding Defendant and/or the allegations contained in
     8   the Cross Complaint. The witness is also expected to have information relating to his
     9   relationship with third parties. Witness is believed to have in its possession financial
    10   documents and contracts relating to Defendant and the allegations in Defendant’s
    11   Cross Complaint.
    12   Estimated Time for Direct and Cross Examination: 3 hours.
    13         3. Trevor Bietz witnessed a meeting April 2014 between Noel Webb, Peter
    14   and Barbara Baker. Mr. Bietz is a former intern at Labrador Entertainment who
    15   attended a March 28, 2014 meeting with Peter Baker and Barbara Barker of Beatbox,
    16   at which meeting they represented Beatbox would replace the entire original Spider
    17   Cues Library with the new Library, and register the new Library with their
    18   Performance Rights Organization.
    19   Estimated Time for Direct and Cross Examination: 1/2 hour.
    20         4. Barbara Baker, an individual, principal of and marketing director at
    21   Beatbox Music Pty. Ltd. Ms. Baker is expected to testify as to interactions with Noel
    22   Webb and with Beatbox employees and internal communications at Beatbox.
    23   Estimated Time for Direct and Cross Examination: 1.0 hour.
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    28   WITNESS LIST OF LABRADOR                                                      Page 3 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 4 of 7 Page ID #:10610



     1         5. Michael Cohen. Mr. Cohen is expected to testify as to the originality of the
     2   track Eminem-Esque and his representations (and the contract between the parties)
     3   that it did not violate any copyright and allegations in his Cross Complaint.
     4   Estimated Time for Direct and Cross Examination: .5 hours.
     5         6. Eric Fruits Ph.D. Dr. Fruits is expected to provide his expert opinion as to
     6   damages in this matter. Dr. Fruits will also serve as a rebuttal expert.
     7   Estimated Time for Direct and Cross Examination: 2.5 hours.
     8         7. Mr. Lau. Mr. Lau. is an expert witness who has written an expert report and
     9   will testify about the topics and contents of this expert report. Mr. Lau will also serve
    10   as a rebuttal expert.
    11         8. Robert Fink, PhD. Dr. Fink is a rebuttal expert for Labrador and has expert
    12   knowledge on the analysis of music as it relates to a factual basis for the claim of
    13   infringements. He will testify on topics as will be presented in his expert report and at
    14   trial. Estimated Time for Direct and Cross Examination: 3.5 hours.
    15         9. John Carter. Mr. Carter is counsel for AMCOS and has knowledge of the
    16   internal operations of AMCOS in New Zealand.
    17   Estimated Time for Direct and Cross Examination: .5 hours.
    18         10. Peter Moore. Mr. Moore will testify on the topics described in the motion
    19   for Letters Rogatory, file and granted by this Court.
    20   Estimated Time for Direct and Cross Examination: 1.5 hours.
    21         11. Bali Virk. Mr. Virk will testify on the topics described in the motion for
    22   Letters Rogatory, file and granted by this Court.
    23   Estimated Time for Direct and Cross Examination: 1.5 hours.
    24         12. Stewart Wallach. Mr. Wallach will testify as Labrador’s general business
    25   attorney who will testify that the change was made on his advice and counsel, and will
    26   explain the entirely non-fraudulent purpose of the creation of the LLC entity.
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    28   WITNESS LIST OF LABRADOR                                                        Page 4 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 5 of 7 Page ID #:10611



     1   Estimated Time for Direct and Cross Examination: 1.5 hours
     2         13. Gibson Pagter, Jr. Gibson Pagter, Jr. will testify that the change was
     3   made on his advice and counsel, and will explain the entirely non-fraudulent purpose
     4   of the creation of the LLC entity.
     5   Estimated Time for Direct and Cross Examination: 1.5 hours
     6
     7   DATED: October 31, 2022
     8
                                       Law Offices of Douglas Joseph Rosner
     9
                                          /s/ Douglas J. Rosner
    10                                    _______________
                                          By: Douglas J. Rosner
    11                                    Attorney for Defendant/Cross-Complainant,
                                          Labrador Entertainment, Inc. dba Spider Cues
    12                                    Music Library, Labrador Entertainment, LLC,
                                          Noel Palmer Webb, an individual and
    13                                    Webb Family Trusts
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    28   WITNESS LIST OF LABRADOR                                                   Page 5 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 6 of 7 Page ID #:10612



     1                                    PROOF OF SERVICE
     2                  USDC, CENTRAL DISTRICT, WESTERN DIVISION
     3                            Case No. 2:17-cv-6108-MWF (JPRx)
     4                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     5           At the time of service, I was over 18 years of age and not a party to this
     6   action. I am employed in the County of Los Angeles, State of California. My
     7   business address is 2625 Townsgate Road, Suite 330, Westlake Village, CA, 91361.
     8           On October 31, 2022, I served true copies of the following document(s)
     9   described as Labrador Entertainment, Inc. Dba Spider Cues Music Library, Labrador
    10   Entertainment, LLC, Noel Palmer Webb, an Individual and Webb Family Trusts
    11   Objections to Defendants' Pretrial Disclosures FRCP 26(A)(3) on the interested
    12   parties in this action as follows:
    13   See Service List
    14           BY EMAIL OR ELECTRONIC TRANSMISSION: By transmitting a true copy
    15   of the foregoing document(s) to the email addresses set forth on the attached service
    16   list.
    17           I declare under penalty of perjury that the foregoing is true and correct.
    18   Executed on this 31st day of October, 2022 in Los Angeles, California.
    19           /s/ Douglas J. Rosner
                  _______________
    20           Douglas J. Rosner
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    28   WITNESS LIST OF LABRADOR                                                        Page 6 of 7
Case 2:17-cv-06108-MWF-JPR Document 287 Filed 10/31/22 Page 7 of 7 Page ID #:10613



     1                                    SERVICE LIST
     2
                     USDC, CENTRAL DISTRICT, WESTERN DIVISION
     3
                              Case No. 2:17-cv-6108-MWF (JPRx)
     4
     5
       Heather Lea Blaise, Esq.                   Counsel for Plaintiff
     6 Blaise and Nitschke PC                     Beatbox Music Pty, Ltd.
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       hblaise@blaisenitschkelaw.com
     8
     9
    10 Daniel Jacobson, Esq.                      Counsel for Defendant and Cross-
       Jacobson & Associates                      Claimant
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       Tustin, CA 92780
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       dlj@jacobsonlawyers.com
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    28   WITNESS LIST OF LABRADOR                                           Page 7 of 7
